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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
v.                                         ) Criminal Case No: 1:21-cr-00382
                                           )
CHRISTOPHER WARNAGIRIS,                    )
                                           )
                       Defendant.          )
__________________________________________)



       UNOPPOSED MOTION TO MODIFY CONDITIONS OF RELEASE
———————————————————————————————————————


Defendant Christopher Warnagiris requests a modification of his Conditions of Release and in

support thereof avers as follows:

     • Mr. Christopher Warnagiris was placed on pretrial release on June 29, 2021.

     • Mr. Warnagiris had not requested any modifications to his conditions since that time.

     • Mr. Warnagiris has been fully compliant with his Conditions of Release for the entirety of

       the past 14 months.

     • Mr. Warnagiris now requests a modification to his conditions of pretrial release to travel

       to, and live in, the Middle District of Pennsylvania, where Mr. Warnagiris plans to reside

       beginning September 1, 2022, and to be able to travel to the Western District of

       Pennsylvania, where his family resides and where he will require consistent travel.

     • Mr. Warnagiris’ pretrial supervisor in the District of Columbia has been notified of Mr.

       Warnagiris’ intention to relocate.




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     • The Government has been notified and advised that there is no opposition to Mr.

       Warnagiris’ request.



Mr. Warnagiris, therefore, requests that “condition (f)” of his Additional Conditions of Release

be amended to include the Middle District of Pennsylvania and the Western District of

Pennsylvania (MDPA and WDPA).



                                              Respectfully submitted,
                                              By Counsel:

                                                     /s/
                                              Marina Medvin, Esq.
                                              Counsel for Defendant
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                         CERTIFICATE OF SERVICE FOR CM/ECF

        I hereby certify that on August 26, 2022, I will electronically file the foregoing with the
Clerk of the Court for the United States District Court for the District of Columbia by using the
CM/ECF system. I certify that all participants in the case are registered CM/ECF users, and that
service will be accomplished by the CM/ECF system.

                                                    /s/
                                              Marina Medvin, Esq.




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